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                                                   UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF MICHIGAN
                                                        SOUTHERN DIVISION

                        WENDELL SHANE MACKEY,

                               Plaintiff,
                                                                             Case No. 2:17-cv-12359-BAF-DRG
                        v.
                                                                             JUDGE BERNARD A. FRIEDMAN
                        JAMES MICHAEL BERRYMAN,
                        Mayor of the City of Adrian, Michigan;               MAGISTRATE DAVID R. GRAND
                        MARGARET M.S. NOE, Judge of the
                        Lenawee County Circuit Court,

                               Defendants.

                        ____________________________________________________________________________/
                         HADDAD LAW FIRM, PLC                   GARAN LUCOW MILLER, PC
                         By: Issa G. Haddad (P71699)            By: John J. Gillooly (P41948)
                         Attorney for Plaintiff                 By: Thomas D. Beindit (P81133)
Haddad Law Firm, PLC.




                         30600 Telegraph Road, Suite 4280       Attorney for Defendant James M. Berryman
                         Bingham Farms, Michigan 48025-4550     1155 Brewery Park Boulevard, Suite 200
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                                                                tbeindit@garanlucow.com
                         JOHNSON, ROSATI, SCHULTZ & JOPPICH, PC
                         By: Christopher J. Johnson (P32937)
                         Attorney Defendant Margaret M.S. Noe
                         27555 Executive Drive, Suite 250
                         Farmington Hills, Michigan 48331
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                         cjohnson@jrsjlaw.com

                        ____________________________________________________________________________/

                                              STIPULATED ORDER TO EXTEND
                                             DISCOVERY AND ALL OTHER DATES

                               Pursuant to the parties’ stipulation, as shown by the signatures of counsel,

                        the Court enters the following Order.



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                        1.      Discovery: All Fact Discovery shall be extended and shall be completed by 10/1/2018;

                        2.      Motions: No motions, other than motions in limine may be filed after 11/1/2018

                        3.      Mediation/Settlement: ADR Referral to Wayne County Case Evaluation on 12/1/2018;

                        4.      Final Pretrial to be set by the court: Tuesday, March 12, 2019 at :00 PM

                        5.      Trial date to be set by the court: Tuesday, April 2, 2019 at 9:00 AM.

                                    SO ORDERED:



                        DATED: 0D\, 2018                          s/Bernard A, Friedman
                                                                     HON. BERNARD A. FRIEDMAN
                                                                     UNITED STATES DISTRICT COURT JUDGE


                        AGREED AS TO FORM AND SUBSTANCE:
Haddad Law Firm, PLC.




                        For Plaintiff:

                        _/s/ Issa G. Haddad__________
                        Issa G. Haddad
                        HADDAD LAW FIRM, PLC
                        30600 Telegraph Rd, Suite 4280
                        Bingham Farms, MI 48025
                        (248) 633-8500
                        issa@haddlaw.com
                        P71699

                        Dated: April 16, 2018

                        For Defendants:

                        ___/s/ John J. Gillooly __________                  __/s/ Christopher J. Johnson _______
                        John J. Gillooly                                    Christopher J. Johnson
                        GARAND LUCOW MILLER, P.C.                           JOHNSON, ROSATI, SCHULTZ &
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                                                                            P32937
                        Dated: April 17, 2018                               Dated: April 17, 2018



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